             Case 2:21-cr-00111-WBS Document 75-1 Filed 04/15/24 Page 1 of 1

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 2                               IN THE UNITED STATES DISTRICT COURT

 3                                  EASTERN DISTRICT OF CALIFORNIA

 4
     UNITED STATES OF AMERICA,                          CASE NO. 2:21-CR-111 WBS
 5
                                  Plaintiff,
 6
                            v.                          DECLARATION OF KATHERINE T. LYDON
 7
     ROBERT POOLEY,
 8
                                 Defendant.
 9

10
            I, Assistant United States Attorney Katherine T. Lydon, declare under penalty of perjury that the
11
     following is true and correct to the best of my knowledge:
12
            1. Attached hereto as Exhibit 1 are communications from USPA regarding steps taken and
13             retraining requirements in the wake of the fatal tandem accident with respect to
14             approximately 140 tandem instructor candidates taught by Pooley and/or Y.G during the
               period of Pooley’s suspension.
15
            2. Attached hereto as Exhibit 2 are FAA Inspector David Jensens’s notes from his meeting with
16             Bill Dause in which Dause gave him Kwon’s USPA and UPT paperwork, and a copy of
               those documents.
17
            3. Attached hereto as Exhibit 3 are Jensen’s interview notes from his meeting with Pooley.
18

19          4. Attached hereto as Exhibit 4 are two letters by Pooley exonerating Y.G. and explaining he
               used Y.G.’s signature without his knowledge.
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21
      Dated: April 15, 2024
22
                                                     By: /s/ Katherine T. Lydon
23                                                       Katherine T. Lydon
                                                         Assistant United States Attorney
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      DECLARATION OF KATHERINE T. LYDON                 1
